                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                        :       CHAPTER 7
                                              :
ALLEN CORRAL,                                 :       CASE NO. 1:20-bk-02096-HWV
                                              :
               Debtor                         :
                                              :
ANDREW R. VARA                                :
UNITED STATES TRUSTEE,                        :
                                              :
               Movant                         :
                                              :
               vs.                            :
                                              :
ALLEN CORRAL,                                 :
                                              :
               Respondent                     :

                     STATEMENT AND NOTICE OF PRESUMED ABUSE

        As required by 11 U.S.C. § 704(b)(1)(A), the United States Trustee has reviewed the
materials filed by the Debtor. Having considered these materials in reference to the criteria set
forth in 11 U.S.C. § 707(b)(2)(A), and pursuant to 11 U.S.C. § 704(b)(2), the United States Trustee
has determined that: (1) the Debtor’s case should be presumed to be an abuse under 11 U.S.C. §
707(b); and (2) the product of the Debtor’s current monthly income, multiplied by 12, is not less
than the requirements specified in 11 U.S.C. §§ 704(b)(2)(A) or (B).

         As required by 11 U.S.C. § 704(b)(2) the United States Trustee shall, not later than 30
days after the date of the filing of this Statement, either file a motion to dismiss or convert under
11 U.S.C. § 707(b) or file a statement setting forth the reasons the United States Trustee does not
consider such a motion to be appropriate. Debtor may rebut the presumption of abuse only if
special circumstances can be demonstrated as set forth in 11 U.S.C. § 707(b)(2)(B).

                                                      Respectfully submitted,

                                                      ANDREW R. VARA
                                                      UNITED STATES TRUSTEE

                                                      D. Troy Sellars, Esq.
                                                      Assistant United States Trustee




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Dated: September 14, 2020




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